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LAWS

TERRITORY OF HAWAII

PASSED BY THD

SEVENTEENTH LEGISLATURE

SPECIAL SESSION
1933

Commenced on Monday, the Thirtieth Day of October, 1933, and
Ended on Thursday, the Eleventh Day of January, 1934.

PUBLISHED BY AUTHORITY

HONOLULU, HAWAIL
HONOLULU STAR-BULLETIN, LTD.
1934

EXHIBIT “G”
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PagelD.767
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' Acr 25] Renatine to ‘rus Comeantis,
| Acr 26] Sace, Transrer, Etc, of Freearms. 35
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ACT 25

{H. B. No. 100)

AN ACT to Amenn Srcrion 3487 ov yur Reviseo Laws or
Hawatr 1925, Retatinge to Trust Companuts,

Be it Enacted by the Legislature of the Territory of Hawaii:

SEcTIoN 1, Section 3487 of the Revised Laws of Elawaii 1925,
is hereby amended hy adding thereto at the end thereof the follow-
ing: i

“Provided that the treasurer may, whether before or after mak- ee |
} ing such application, permit such company to continue or resume :

' business upon its effecting appropriate remedies within such time eed |
and upon such terms and in such manner as he shall approve, as ipod
by making good the impairment of its capital. or by reducing its
' capital to the extent of the impairment but not below the amount
: required by law ar by selling all or any of its assets or capital stock
to or merging with any trust company, whose capital has not been
impaired, which will take over and assume its liabilities, ar by mak-
ing satisfactory arrangements with its creditors, or by yeorganiza-
tion or otherwise.”

Sxcrion 2. This Act shall take effect upon its approval,
Approved this 2nd day of January, A. D. 1934,

LAWRENCE M. JUDD,
Governor of the Territory of Hawaii.

ACT 26 fy |
(H. B. No. 70} |
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{

AN ACT Recunatine tHE Sanu, TRANSYER ann Possrsston or
FIREARMS AND AMMUNITION AND Rerearine Sections A
2136, 2137, 2138, 2139, 2140, 2141, 2142, 2143, 2144, 2145, :
2146 aN 2147, Reviseo Laws o¥ Hawarr 1925, Act 206,
Session Laws or Hawatt 1927, ano Act 120, Susston Laws
or Hawazr 1933,

Be it Enacted by the Legislature of the Territory of Hawaii:

UCASE LLY-CV-UUD/G-UMD-KI VOCUTMENLOL-G FIEA UG/LZiZU rage sors ragely F: 319
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36 Save, Transren, Evc., of Firearms. [Acr 26

Laws of Hawaii 1933, and all other laws or parts of laws in con-
flict with the provisions of this Act, are hereby repealed.

Section 2. Definitions. “Firearm” as used in this Act means
any weapon, the operating force of which is an explosive. This
definition includes pistols, revolvers, rifles, shotguns, machine guns,
automatic rifles, noxious gas projectors, mortars, .bombs, cannon
and sub-machine guns. The specific mention herein of certain
weapons does not excluce from the definition other weapons oper-
ated by explosives.

“Crime of violence’ as used in this Act means any of the fol-
lowing crimes, namely: murder, manslaughter, rape, kidnapping.
robbery, burglary, and those certain crimes set forth in Sections
4130 and 4131 of said Revised Laws.

“Pistol” or “revolver” as used in this Act, means and includes
any firearm of any shape whatsoever with barrel less than twelve
inches in length and capable of discharging loaded ammunition or
any noxious gas.

“Person” as used in this Act includes individuals, firms, cor-
porations and copartnerships, and includes wholesale and retail
dealers.

Srcrion 3. Vvery person residing ot duing business o1 tempo-
rary sojoumning within the Territory ou the effective date of this
Act who possesses a firearm of any description, whether usable or
unusable, serviceable ov unset viceable, modern or antique, not al
veady registered in the name of the present possessor, or who pos-
sesses ammunition af any kind or description, except shotgun am-
munition, shall, within ten days of said effective date, register the
same with the chief of police of the city and county of Honolulu
or the sheriff of the county, other than the city and county of
Honolulu, wherein it his place gf business, or if there be no place
of business, his residence, ov if there be neither place of business
nor residence, his place of sojourn,

Every person arriving in the Territory after the effective cite
of this Act, who brings with him fiearms or ammunition of the
type and description set out in this section, shall register the same
in similar manner within forty-cight hours after arrival. j

‘The registration shall be on such forms as may be designated
by the bureau of crime statistics and shall include a description of
the class of firearm or firearms and ainmunition owned by him,
or in his possession, together with the name of the maker and the |
factory number, if known or ascertainable, and the source from
which possession was obtained.

Within sixty days after the effective date of this Act, the chief :
of police of the city and county of Honolulu and the sheriffs of
the several counties, other than the city and county of Honolulu, :

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Act 26] Sat, Transrer, Erc., or Fintarus. 37

shall furnish the bureau of crime statistics a record of all registra-
tions now on file in their respective offices. Within ten days after
the end of each month the chief of police of the city and county 'g
of Honolulu and the sheriffs of the several counties, other than
the city and county of Honolulu, shall furnish to the bureau of
crime statistics duplicate copies of all registrations made during
}o the preceding month.
No fee shall be charged for such registration.
Any person who fails to comply with the provisions of this sec-
tion shall be punished by a fine of not more than two hundred and
fifty dollars ($250.00).

Szcrion +. No person residiie ov doing business or temporatily
sojourning within the Territory shall take possession of any fire-
avin af any description, whether usable or wmusable. serviceable or
unserviceable, modern or antique, registered under prior Acts or
unregistered, or of any ammunition of any kind or description,
except shotgun anmunition, either through sale, gift, loan, bequest.
ot otherwise, whether procured i the Tertitory or imported hy
mail, express, freight, or otherwise, until he shall first have pro-
cured from the chief of police of the city and county of Monotulu
ov the sheriff of the county, other than the city and county of
Tonolulu, wherein is his place of business. ov if there be nu place
of Iusiness, his residence, or if Utere be ueither place uf business
nor tesidence, his place of sojourn. a permit ty acquire as pre
scribed herein. The chief of police of the city and county of Elono-
lulu or the sheriffs of the several counties, other than the city and
county of Honolulu, are hereby authorized, within their discretion,
to issue permits, within their respective jurisdictions, to acquire
rifles, pistols, and revolvers to citizens af the United States, of
the age of twenty years or more, and to duly accredited official
representatives of foreign nations. Permits to acquire ammunition
for rifles, pistols anc revolvers acquired prior to the effective date
of this Act and registered in accordance with the provisions hereof,
may he granted persons of the age of twenty years or more irre- '
spective of citizenship, Permits to acquire shotguns may be granted |
to persons of the age of sixtcen years or more, irrespective of citi-
zenship. Applications for such permits shall be signed by the |
applicant upon forms to be specified by the hureau of crime sta- .
tistics, and shall be signed by the issuing authority. One copy of {
such permit shall be retained by the issuing authority, as a perma- if

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nent official record. Such permit shall be void unless used within
ten days after the date of issue. In all cases where possession is
acquired from another person in the Territory the permit shall be
signed in ink by the holder thereof and shall thereupon be delivered
to and taken up by the person selling, loaning, giving or delivering
the firearm or ammunition, who shall make entry thereon setting

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38 Saue, Transrer, Eve., of Fingaras. {Act 26

forth in the space provided therefor the name of the person to’
whom the firearm or ammunition was delivered, and the make.
style, caliber, and number, as applicable. He shall then sign it in
ink and cause it to be delivered or sent hy registered mailto the
issuing authority within forty-eight hours. In case receipt of such
firearms or ammunition is had by mail, express. freight, or other-
wise, from sources outside the Territory, the person to whom such
permit has been issued, shall make the prescribed entries thercon,
sign in ink, and cause it to be delivered or sent by registered mail
to the issuing authority within forty-eight hours after taking pos-
session of the Gfrearms or ammunition, No person shall sell, give.
loan, or deliver into the possession of another any firearm or am-
munition except in accordance with the provisions of this section.

Any person acquiring a firearm or ammunition under the pre
visions of this section shall, within five days of acquisttion, register
same in the manner prescribed hy Section 3 of this Act

No fee shal! be charged for permits under this section,

Any person who violates any provision of this section shall be
punished by a fine of not more than five hundred dollars ($500.00)
or imprisonment for not more than one year, or by both.

Sucrton 5. Any person who has procured a hunting license
under the provisions of Sections 2028-2032, inclusive, of the Re- ‘
vised Laws of Hawaii 1925, as amended, shall, while actually
: engaged in hunting or while going to or from the place of hunting,
be authorized to carry and use any lawfully acquired rifle or shot-
gun and suitable ammunition therefor.
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Srcrion 6. The possession of all firearms and ammunition
shall be confined to the possessor’s place of business, residence, ot
sojourn, or to carriage as merchandise in a wrapper from the place
of purchase to the purchaser's home, place of business or place of
sojourn, or between these places and a place of repair, or upon i
change of place of business, abode, or sojourn, except as provided |
in Sections 5 and 8; provided, however, that no person who has
been convicted in this Territory or elsewhere, of having com-
mitted or attempted a crime of violence, shall own or have in his
possession or under his control a pistol or revolver or ammunition : \
therefor. Any person violating any provision of this section shall }
be punished by a fine of not more than one thousand dollars
($1,000.00) or by imprisonment for not move than one year, or
by both.

Secrion 7. ‘Che manufacture, possession, sale, barter, trade, i
gift, transfer, or acquisition of any machine guns, sub-machine
guns, automatic rifles, cannon, mufflers, silencers or devices for
deadening or muffling the sound of discharged Arearms, or any
bomb or bombshell is prohibited. Any person convicted of a viola-

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Act 26] Save, TRawsren, Erc., or Firtarats. 39 q

tion of this section shall he punished by a fine of not more than
one thousand dollars ($1,000.00) or hy imprisonment for not more
than one year, or by both.

Suction & In an exceptional case, when the applicant shows
good reason to fear injury to his person or property, the chief of
police of the city anc county of Honolulu or the sheriff of a
county, other than the city and county of Honolulu, may grant a /
license to a citizen of the United States or a duly accredited offi-
cial representative of a foreign nation, of the age of twenty years
or more, to carry concealed on his person within the city and
county or the county in which such license is granted, a pistol or
revolver and ammunition therefor. Unless renewed, such license
shall automatically hecome void at the expiration of one year from
date of issue. No such license shall issue unless it appears that the
applicant is a suitable person to be so licensed, and in no event toa
person who has been convicted of a felony, or adjudged insane, in
the Territory or elsewhere. All licenses to carry concealed weapons
heretofore issued shall expire at midnight on the effective cate of
this Act. No person shall carry concealed on his person a pistol |
or revolver or ammunition therefor without being licensed so to
lo under the provisions of this section. i

Vor each such license there shall be charged a fee of ten dol- \
lars ($10.00), which shall be covered into the treasury of the city
and county or the county in which such license is granted. i

Any person violating this section shall he punished by a fine of 1
not more than one thousand dollars ($1,000.00) or by imprison- I
ment for not more than one year, or by both. : i

Seerion 9. No person shall wilfully alter, remove, or obliterate i

the name of the make, model, manufacturer’s number or other i

nuurk of identity of any firearm or ammunition. Possession of such i

firearm or ammunition upon which any mark of identity shall iI

have been altered. removed, or obliterated shall be presumptive : Bi
evidence that such possessor has altered, removed or obliterated J

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| the same. Any person who violates the provisions of this section
shall be punished by a Ane of not more than five hundred dollars ;
($500.00) or by imprisonment for not more than one year, or I
by both, i

Srcrion 10. In the trial of a person for committing or attempt-
ing to commit a crime of violence, the fact that he was unlawfully

armed with a firéarm shall he prima facie evidence of his intent to Hl

conimut said crime of violence.
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Srerron 11. The provisions of Sections 6, 7 and § of this Act }

shall not apply to members of police departments, sheriffs, mar- i

shals, members of military and naval forces of the Territory and (

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of the United States, mail carriers, law enforcement officers, or

persons employed hy the Territory or subdivisions thereof or the

United States whose duties require them to be armed, while such

persons are in the performance of their respective duties, or while

going to and from their respective places of duty, nor shall the

provisions of Sections 3 and 4 of this Act apply to such firearms .
‘or ammunition as are a part of the official equipment of any Fed- :
eral agency.

Section 12. All firearms or ammunition carried or possessed
contrary to this Act shall be forfeited to the.Territory, and shall
be destroyed by the chief of police of the city and county of
Honolulu or the sheriff of the county, other than the city and
county of Honolulu, in whose jurisdiction they are forfeited. '

Secrion 13. All permits and licenses provided for under this
Act may be revoked, for good cause, by the issuing authority or
by the judge of any court. !

Srcrion 14. Within ten days after the last day of each month
each of the authorities herein authorized to issue or revoke per-
mits and licenses shall make a report to the bureau of crime sta-
tistics as of the last day of the preceding month of all permits and

licenses issued or revoked by him. Said report shall he in such 1

manner and in such form as the bureau of crime statistics shall

prescribe. |
Section 15. If any person, in complying with any of the |

requirements of this Act, shall give false information, or offer i

false evidence of his identity, he shall be punished by a fine of not
more than one thousand dollars ($1,000.00) or by imprisonment
for not more thau one year, or by both.

Secrion 16. If any section, subsection, sentence, clause or
phrase of this Act is, for any reason, held to be unconstitutional
or invalid, such decision shall not affect-the validity of the remain- |
ing portions of this Act. The Legislature hereby declares that it
would have approved this Act and each section, subsection, sen- -
tence, clause and phrase thereof, irrespective of the fact that any !
one or more other sections, stbsections, sentences, clauses or ‘
phrases be declared unconstitutional.

Section 17. ‘This Act shall take effect upon its approval.
Approved this.9th day of January, A. D. 1934.

LAWRENCE M. JUDD,

Governor of the Territory of Hawaii.

